 

AO 440{1`{5'~'. 06112_)_ Summons in a Civil Aclion

UNITED .STATES DIST_RICT COURT

for the
Wesl`ez“n Di'st,ricl of Virginia

JBSO|"| K_QSSIGI'

 

N|aur`ice Jones

 

Dr;fendanc(s)

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Piamzij;_f(s) )
V' ). CivilAc_tioil_No. 31’1,3€\/00015

b'lty or unanmtesvme )

and )

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SUM`MGNS IN A CIVIL ACTIO_N

TO: (Defendanr ’s name and address)
Lisa Robertson, Esquiresse
Acllng City Aktorr\_ey
City Hai|
Charloitesvil|e, Va. 2'29€}2

A lawsuit_has been filed against you.

Within 2`.1 days after service of this summons ora-you (not counting tile day yol_\.`r_eceived "it) -_ or SO'd`ays iflyou
are then Upited States or'a limited States_agency, or an officer or employee cfthc Uniteql St_a`tes`_ described_.in Fi;‘,d._ ;R. Ci)i.
P. 12 (a)(Z) or (3?)-_` you must Serve on thc'piaintitY-an answer `to the attached complaiut.o_r.a mo;ion under Rule 12 Qf`
the Pederal Rules Gf Civil Procedure._ 'The answer Or,moti_c_)n must be_scr\_,'ed on fha plaintiff or plaintiffs attorney,
whose name and address arc;

Elmer Woociard
5661 US Hwy 29
B|a'zrs Va. 2452-7

Ifyou fail torrespond-, judgmeut¢by default will be entered against.yoiz for the relief demanded in the complaint
You--also' must file your answer <)_r motion with the court

JL`LTA CI_ UDLEY, CLERK OP CO?_§RT

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Da€e: April 10 , 20 18

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AO 1120 gRev_ 06!1';') S.ummlms m n (I'wii Ac\`mn l |’a.ge 2)

Civii Ac£ion No_ 3:18¢\/00015

PROOF OF SERVICE
(T!:`z's sealfon should rust fmme wide flra court unless required by Fen'. R. Cz`v. .P. 4 (l'))

Ti`il$ SUHIE'I`IOHS fOl’ (rrarm.' afir.-¢'Jr'vidr.‘¢r! mud lille,r['fany) L/'" ‘ 5 q.. !Q_ 6 b q[,,.._{"g d ,_j /~76 »l'~ "'

was:recei'~.!e<l by me en ¢“dme) &W/Z,/Z:Q jill ,

Mpersonaily served fhc summons en the individual at g)!ace) _C fn f`Y` ' l'} B‘“H C LwL-£'\ l 6 f'j'<"$ cf r` ll 'r’

_leé;_r.'é!:_$j_§§lw‘¢-< f:_<L ...§f?’f_l?r_§li//rz_ ,- few _q.fz;`_/:;i_`_§f§gi,_e"

l'_') I]el"i the summons at lhc in-:iividual’s residence 01' usual place cfabode Wi!h (nmrm)

,:~_§£1_.:?":%.%#7

, aiperson cf culsial_)le rageand Hic_cretioc who reside§ Eh`ere, ` ` ' ` 2

en (dwe} , and mailed a copy to the individual’s last known~acidre<:s; cr

CI T_::erved the summons on (namc-qud.=vid¢m!) , who is

designated by law m accept service of process on behalf of grams n_.’qrganizmir;)r)

 

fm (dare) ', or
5 I returned the summons unexecuted because ; er
3 Oihel‘ (spcc§f_=,').'
Mj,' fees arc 5 _,-/"` for travel and 5 -----»- fec services_, for a total of 3 9_09 .

l declare under penalty cf perjury l.hat this information is tree

 

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Q,V;.qu/M<: MJ_R zzj"é;(

.S`ewe)' 's address

‘4/3 v J§é ~.>;:¢1:76

Additicnal information regarding exempted service cruz

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